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                                            U NITED S TATES D ISTRICT C OURT
                                           EASTERN DISTRICT OF NEW YORK
         Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit


                                                                                                   Case No. 21-cv-2194
           (List the full name(s) of the plaintiff(s)/petitioner(s).)

                                             -against-
          F & E Maintenance, Inc. t al.                                                            NOTICE OF APPEAL




           (List the full name(s) of the defendant(s)/respondent(s).)



           Notice is hereby given that the following parties:                    Albert E. Percy and Percy Jobs and Careers Corporation


           (list thenames of all parties who are filing an appeal)


           in the above-named case appeal to the United States Court of Appeals for the Second Circuit

 judgment x order            entered on:           May 27, 2021
                                                                                        (date that judgment or order was entered on docket)
           that:           Dismissing this Federal Court Action



           (If the appeal is from an order, provide a brief description above of the decision in the order.)

               6/25/2021
                                                                                               *
               Dated                                                               Signature

               Kernan, James M. , Attorney for the Employee Class
               Name (Last, First, MI)

               26 Broadway, 19th Floor, New York, New York 10004,
               Address                                       City                  State                           Zip Code
               Telephone: (212)986-3196                                              jkernan@kernanllp.com

               Telephone Number                                                    E-mail Address (if available)




           *
            Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address and telephone
           number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
           to the case. Fed. R. App. P. 3(c)(2). Attach additional sheets of paper as necessary.
           Rev. 12/23/13
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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK_____
        Percy, et al.,
                                          Plaintiffs,      MEMORANDUM & ORDER
                                                               20-cv-6131 (NGG)
                         -against-                          20-cv-6291 (NGG) (SJB)
        Oriska General Contracting, et al.,                 21-cv-1366 (NGG) (SJB)
                                                               21-cv-1421 (NGG)
                                       Defendants.
                                                           21-cv-1999 (NGG) (RLM)
        Hodge, et al.,
                                                            21-cv-2006 (NGG) (SJB)
                                          Plaintiffs,       21-cv-2009 (NGG) (SJB)
                         -against-                          21-cv-2010 (NGG) (SJB)
                                                            21-cv-2021 (NGG) (SJB)
        All American School Bus Corp., et al.,             21-cv-2022 (NGG) (ARL)
                                       Defendants.          21-cv-2024 (NGG) (SJB)
        Hodge, et al.,                                      21-cv-2025 (NGG) (SJB)
                                                            21-cv-2029 (NGG) (SJB)
                                          Plaintiffs,      21-cv-2030 (NGG) (AYS)
                         -against-                          21-cv-2031 (NGG) (SJB)
                                                            21-cv-2034 (NGG) (SJB)
        Cuomo, et al.,
                                                            21-cv-2035 (NGG) (SJB)
                                       Defendants.         21-cv-2039 (NGG) (RML)
        Oriska Corporation,                                 21-cv-2040 (NGG) (SJB)
                                                           21-cv-2045 (NGG) (VMS)
                                              Plaintiff,
                                                            21-cv-2050 (NGG) (SJB)
                         -against-                          21-cv-2175 (NGG) (SJB)
        Hodge, et al.,                                      21-cv-2182 (NGG) (SJB)
                                                            21-cv-2194 (NGG) (SJB)
                                       Defendants.          21-cv-2198 (NGG) (SJB)
        Oriska Corporation,                                 21-cv-2283 (NGG) (SJB)
                                              Plaintiff,    21-cv-2311 (NGG) (SJB)
                                                           21-cv-2313 (NGG) (RLM)
                         -against-                          21-cv-2314 (NGG) (SJB)
        Willoughby Rehabilitation and Health
        Care Center, LLC, et al.,
                                       Defendants.




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        Oriska Corporation,
                                             Plaintiff,
                       -against-
        Bayview Manor LLC, South Point Plaza, et
        al.,
                                        Defendants.

        Oriska Corporation,
                                             Plaintiff,
                       -against-
        Nassau Operating Co., LLC, et al.,
                                        Defendants.
        Oriska Corporation,
                                             Plaintiff,
                       -against-
        Garden Care Center, Inc., et al.,
                                        Defendants.
        Oriska Corporation,
                                             Plaintiff,
                       -against-
        Park Avenue Operating Co. LLC, et al.,
                                        Defendants.
        Oriska Corporation,
                                             Plaintiff,
                       -against-
        Parkview Care & Rehabilitation Center, et
        al.,
                                        Defendants.




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        Oriska Corporation,
                                            Plaintiff,
                       -against-
        Pinegrove Manor II, LLC,-Grace Plaza, et
        al.,
                                        Defendants.
        Oriska Corporation,
                                            Plaintiff,
                       -against-
        Townhouse Operating Co., LLC-
        Townhouse Center for Nursing, et al.,
                                        Defendants.
        Oriska Corporation,
                                            Plaintiff,
                       -against-
        Woodmere Rehabilitation and Health
        Care Center, Inc., et al.,
                                        Defendants.
         Oriska Corporation,
                                            Plaintiff,
                       -against-
        Brookhaven Rehabilitation and Health
        Care Center, LLC, et al.,
                                        Defendants.
        Oriska Corporation,
                                            Plaintiff,
                       -against-
        Little Neck Care Center, LLC, et al.,
                                        Defendants.




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        Oriska Corporation,
                                         Plaintiff,
                      -against-
        New Surfside Nursing Home, LLC-Caring
        Family Nursing & Rehab, et al.,
                                      Defendants.
        Oriska Corporation,
                                         Plaintiff,
                      -against-
        West Lawrence Care Center, LLC, et al.,
                                      Defendants.
        Oriska Corporation,
                                         Plaintiff,
                      -against-
        Avalon Gardens Rehabilitation & Health
        Care Center, LLC, et al.,
                                      Defendants.
        Oriska Corporation,
                                         Plaintiff,
                      -against-
        Golden Gate Rehabilitation and Health
        Care Center LLC, et al.,
                                      Defendants.
        Oriska Corporation,
                                         Plaintiff,
                      -against-
        North Sea Associates, LLC-The Hamptons
        Center, et al.,
                                      Defendants.




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        Percy, et al.,
                                           Plaintiffs,
                         -against-
        Children's Law Center, et al.,
                                         Defendants.
        Percy, et al.,               Plaintiffs,
                         -against-
        D & D Metal Work Inc., et al.,
                                         Defendants.
        Percy, et al.,
                                           Plaintiffs,
                         -against-
        F & E Maintenance Inc, et al.,
                                         Defendants.
        Percy, et al.,
                                           Plaintiffs,
                         -against-
        I Grace Co, et al.,
                                         Defendants.
        Percy, et al.,
                                           Plaintiffs,
                         -against-
        U & I Mechanical Corporation, et al.,
                                         Defendants.




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        Percy, et al.,
                                           Plaintiffs,
                         -against-
        Manhattan Telecommunications
        Corporation, et al.,
                                         Defendants.
        Percy, et al.,
                                           Plaintiffs,
                         -against-
        S & E Azrlliant PC, et al.,
                                         Defendants.
        Percy, et al.,
                                           Plaintiffs,
                         -against-
        P & H Painting Inc., et al.,
                                         Defendants.
         Bay Park Center for Nursing &
         Rehabilitation, et al.,
                                           Plaintiffs,
                         -against-
        Bent Philipson, Avi Philipson, and
        Deborah Philipson,
                                         Defendants;
        Oriska Corporation,
                            Plaintiff-in-Intervention,
                         -against-
        Bay Park Center for Nursing &
        Rehabilitation, et al.,
                         Defendants-in-Intervention;




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        Donna Hodge, Annette Hall, Karen Grant
        Williams, and Alexi Arias,
                 Class Defendants-in-Intervention;
        Bent Philipson, Avi Philipson, and
        Deborah Philipson,
          Lead Action Defendants-in-Intervention;
        Aaron Becher, et al.,
                   Owner Operator Defendants-in-
                                   Intervention;
        The Philipson Family Trust, et al.,
            Prohibited Transaction Defendants-in-
                                    Intervention;
        Andrew Cuomo, et al.,
                       State Officer Defendants-in-
                                      Intervention;
        Oriska Insurance Company,
                                Carrier Defendant-in-
                                        Intervention;
        Rashbi Management, Inc.,
                                Trust Defendants-in-
                                       Intervention.


               NICHOLAS G. GARAUFIS, United States District Judge.
               Pending before the court are 29 related lawsuits, which collec-
               tively name more than 8,773 defendants. Eighteen of these
               lawsuits (the “Removed Actions”) were originally filed in various
               New York State Supreme Courts and then coordinated and trans-
               ferred to New York Supreme Court, Oneida County for pre-trial
               purposes. They were removed to this court by purported class
               representative defendants (the “Class Representatives”) in each




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              action. Eleven of these lawsuits (the “Federal Actions”) were
              originally filed in federal court.
              For the reasons stated below, each of the Removed Actions is RE-
              MANDED to New York Supreme Court, Oneida County and each
              of the Federal Actions is DISMISSED with prejudice. Requests
              made by counsel in the Removed Actions for attorneys’ fees and
              costs are GRANTED. Attorney James M. Kernan, counsel for the
              Class Representatives, is ORDERED to show cause within two
              weeks of the date of this Order, in writing, as to why he should
              not be referred to the Disciplinary Committee for this District in
              connection with his conduct in these lawsuits.

              I.   PROCEDURAL BACKGROUND

                   A. The Removed Actions
              The eighteen Removed Actions pending before this court 1 were
              initially filed in various New York State Supreme Courts. Oriska


              1
                Oriska Corp. v. Hodge, et al., 21-cv-01999 (NGG); Oriska Corp. v.
              Willoughby Rehab. and Health Care Ctr., LLC, et al., 21-cv-02006 (NGG);
              Oriska Corp. v. Brookhaven Rehab. and Health Care Ctr., LLC, et al., 21-cv-
              02031 (NGG); Oriska Corp. v. Little Neck Care Ctr., LLC, et al., 21-cv-02034
              (NGG); Oriska Corp. v. New Surfside Nursing Home, LLC-Caring Family
              Nursing & Rehab., et al., 21-cv-02035 (NGG); Oriska Corp. v. West Lawrence
              Care Ctr., LLC, et al., 21-cv-02039 (NGG); Oriska Corp. v. Golden Gate Re-
              hab. and Health Care Ctr. LLC, et al., 21-cv-02045 (NGG); Bay Park Ctr. for
              Nursing & Rehab. LLC, et al., v. Philipson, et al., 20-cv-06291 (NGG); Oriska
              Corp. v. Bayview Manor LLC, - South Point Plaza, et al., 21-cv-02009 (NGG);
              Oriska Corp. v. Garden Care Ctr., Inc., et al., 21-cv-02010 (NGG); Oriska
              Corp. v. Nassau Operating Co, LLC, et al., 21-cv-02021 (NGG); Oriska Corp.
              v. Park Ave. Operating Co. LLC, et al., 21-cv-02022 (NGG); Oriska Corp. v.
              Parkview Care & Rehab. Ctr., et al., 21-cv-02024 (NGG); Oriska Corp. v.
              Pinegrove Manor II, LLC,-Grace Plaza, et al., 21-cv-02025 (NGG); Oriska
              Corp. v. Townhouse Operating Co., LLC-Townhouse Ctr. for Nursing et al.,
              21-cv-02029 (NGG); Oriska Corp. v. Woodmere Rehab. and Health Care
              Ctr., Inc., et al., 21-cv-02030 (NGG); Oriska Corp. v. Avalon Gardens Rehab.
              & Health Care Ctr., LLC et al., 21-cv-02040 (NGG); Oriska Corp. v. North
              Sea Associates, LLC-The Hamptons Ctr., et al., 21-cv-02050 (NGG).




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               Corporation (“Oriska”), an insurance company located in Oneida
               County in the Northern District of New York, is the plaintiff in
               seventeen of the eighteen Removed Actions. Oriska originally
               brought those and other related actions in Bronx, Kings, Nassau,
               Rensselaer, Richmond, Schenectady, Suffolk, and Westchester
               Counties against, inter alia, various healthcare and rehabilitation
               employer defendants (the “Healthcare Employers”). (See Oriska
               Corp. v. West Lawrence Care Ctr., 21-cv-2039, Coordination Order
               (Dkt. 8-6) at 2-3; App’x A.) These Removed Actions are share-
               holder derivative suits seeking reimbursement of unpaid
               insurance premiums allegedly owed to Oriska’s former subsidi-
               ary, Oriska Insurance Corporation. Id. at 2. In the state court
               proceedings, the Employer Defendants disputed Oriska’s claims
               and argued that “most, if not all, of the plaintiff’s causes of action
               have already been adjudicated when similar claims were litigated
               by Oriska Insurance Company in the Supreme Court of Oneida
               County by Justice Patrick F. MacRae.” Id. at 3.
               Oriska moved to consolidate the cases in either Nassau or Kings
               County. Id. The Healthcare Employers agreed that consolidation
               was necessary but argued that they should be moved to Oneida
               County, where Oriska was located and where Oriska Insurance
               Company’s prior claims had been adjudicated. Id. The New York
               State Litigation Coordination panel agreed with the Healthcare
               Employers and, on April 30, 2020, the panel entered an order
               coordinating the actions and transferring them to Oneida County
               for pre-trial purposes pursuant to the Uniform Rules for New
               York State Trial Courts § 202.69. Id. at 4. The Coordination Order
               advised the parties that, after pre-trial discovery and decisions on
               any summary judgment motions, the plaintiff could choose to
               have a trial for each action in the county where it was originally
               filed. Id.




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               Around that time, Oriska purports to have amended its state
               court complaints in these seventeen Removed Actions to add fed-
               eral causes of action and to include putative class representatives
               Annette Hall, Karen Grant Williams, Donna Hodge, Alexi Arias,
               and Albert E. Percy (the “Class Representatives”) as additional
               defendants. (See, e.g., Oriska v. North Sea Assocs., 21-cv-454, Am.
               State Court Compl. (Dkt. 1-2) (E.D.N.Y. Jan. 27, 2021).) The
               Class Representatives, who are represented by attorney James M.
               Kernan, then attempted to collectively remove the seventeen ac-
               tions to this court under one docket number, Oriska v. North Sea
               Assocs., 21-cv-454 (“North Sea”). On April 9, 2021, this court dis-
               missed North Sea as improperly filed. (North Sea, Apr. 9, 2021
               Order.) The Class Representatives then filed notices to individu-
               ally remove each of those seventeen state court actions to the
               Eastern District of New York.
               The eighteenth Removed Action was filed in New York Supreme
               Court, Nassau County (the “Nassau County Action”). The
               Healthcare Employers were the original plaintiffs in the Nassau
               County Action, and they brought various state law claims against
               individual defendants Bent Philipson, Avi Philipson, and Deborah
               Philipson. (Bay Park Ctr. for Nursing & Rehab., et al. v. Philipson,
               et al., 20-cv-6291 (“Bay Park Ctr.”), Compl. (Dkt. 9-3) ¶¶ 57-
               102.) Specifically, in their initial complaint, the Healthcare Em-
               ployers alleged that the Philipsons abused their fiduciary
               positions by engaging in a scheme to trick the Healthcare Em-
               ployers into paying premiums into a scam third-party insurance
               policy over the course of several years, promising them third-
               party insurance coverage that did not exist. (Id. ¶¶ 27-56.) The
               Healthcare Employer plaintiffs sought $53 million in damages
               plus declaratory relief. (Id. at 23-25.)
               The Healthcare Employer plaintiffs filed an amended complaint
               in the Nassau County Action on November 6, 2019. (Bay Park
               Ctr., Am. Compl. (Dkt. 9-4).) The amended complaint abandons




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               most, if not all, of the allegations from the initial complaint. It
               raises a single cause of action against the Philipsons for breach of
               contract, alleging that they failed to repay a $50,000 loan and
               seeking only the amount of the loan, plus interest and fees, in
               damages. (Id. ¶¶ 21-25.)
               On October 7, 2020, Oriska obtained leave to intervene as a
               plaintiff in the Nassau County Action. (Bay Park Ctr., Order (Dkt.
               9-6).) By that time, the Nassau County Action, along with the
               seventeen other Removed Actions, had been transferred to
               Oneida County for pre-trial coordination. (Bay Park Ctr., Nassau
               Cnty. Dkt. (Dkt. 38-2) at ECF p. 3.) Then, on December 28, 2020,
               Oriska filed an amended complaint in intervention, asserting 20
               causes of action against more than 400 defendants-in-interven-
               tion, including the Class Representatives and the Healthcare
               Employers. 2 (Bay Park Ctr., Am. Compl. in Intervention
               (“Amended Intervention Complaint”) (Dkt. 9-7) ¶¶ 211-343.)
               On December 29, 2020, the Class Representatives removed the
               Nassau County Action to this court on the basis of federal ques-
               tion jurisdiction pursuant to 28 U.S.C. § 1331, asserting that the
               Employee Retirement Income Security Act (“ERISA”), 29 U.S.C.
               § 1001 et seq., completely preempts the claims raised in the
               Amended Intervention Complaint. (Bay Park Ctr., Not. of Re-
               moval (Dkt. 1) ¶ 6.)




               2
                The proposed amended complaint in intervention asserted only state law
               causes of action. The parties dispute whether Oriska Corporation ever filed
               an initial proposed intervention complaint prior to filing its amended one.
               Because it is not pertinent to the issues at hand, this court declines to ad-
               dress this disputed issue.




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                    B. The Federal Actions
               Also pending are the eleven Federal Actions that were originally
               filed in federal court.3 The plaintiffs in the Federal Actions in-
               clude the same Class Representatives who were added as
               defendants in each of the Removed Actions and who removed
               those actions to federal court. Attorney Kernan represents the
               Class Representatives in both the Federal Actions and the Re-
               moved Actions.
               Kernan, on behalf of the Class Representatives, purports to have
               named at least 8,773 defendants in the Federal Actions. (See
               D&D Metal Work Inc., 21-cv-2182, Compl. (Dkt. 1) ¶ 26 (assert-
               ing that there are 8,773 defendants identified in some of the
               Federal Actions); see also Oriska Corp. Gen. Contracting, 20-cv-
               6131, List of Defendants (Dkt. 140) (submitting a 64-page, sin-
               gle-spaced list of defendants).) The court’s ECF filing system caps
               the number of defendants that may be listed per ECF entry, and
               in an apparent attempt to evade those limits, Kernan has filed
               hundreds, if not thousands, of ECF entries, each listing a subset
               of the defendants. (See, e.g., Percy v. Oriska Corp. Gen. Contract-
               ing, 20-cv-6131 (Dkt. Nos. 28-58, 60-62, 64-66, 68, 70-86, 88-
               89, 92-93, 97-128, 135-146). None of the complaints explains
               the individual significance of any of these named defendants or
               discusses how or why they were identified.



               3
                 See Percy, et al., v. Oriska Corp. Gen. Contracting, et al., 20-cv-06131
               (NGG); Hodge, et al. v. All Am. Sch. Bus Corp., et al, 21-cv-01366 (NGG);
               Hodge, et al., v. Cuomo, et al., 21-cv-01421 (NGG); Percy, et al., v. Children’s
               Law Ctr., et al., 21-cv-02175 (NGG); Percy, et al., v. D & D Metal Work Inc.,
               et al., 21-cv-02182 (NGG); Percy, et al., v. F & E Maint. Inc., et al., 21-cv-
               02194 (NGG); Percy, et al., v. I Grace Co., et al., 21-cv-02198 (NGG); Percy,
               et al., v. U & I Mech. Corp., 21-cv-02283 (NGG); Percy, et al., v. Manhattan
               Telecomm’s Corp., et al., 21-cv-02311 (NGG); Percy, et al., v. S & E Azrlliant
               PC, et al., 21-cv-02313 (NGG); Percy, et al., v. P & H Painting Inc., et al., 21-
               cv-02314 (NGG).




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               All eleven Federal Actions assert identical or substantially similar
               claims. In sum, each lawsuit focuses on an “Alternative Employ-
               ment Practice” apprenticeship program that the Class
               Representatives want covered by workers’ compensation insur-
               ance, which they refer to as the “Percy Plan” or “Program” or
               “Solution.” (See, e.g., Oriska Corp. Gen. Contracting, 20-cv-6131,
               Compl. ¶¶ 3-5.) This workers’ compensation program appears to
               have been created by Oriska’s former subsidiary, the Oriska In-
               surance Company or, at least, is beneficial to it because Oriska is
               the provider of the program. The Class Representatives claim that
               the defendants’ failure to adopt the program violated their rights
               under 18 U.S.C. § 2000e-2(k)(1). (Id.) They seek injunctive and
               declaratory relief; damages for lost wages, benefits, and oppor-
               tunities; and liquidated damages, plus pre- and post-judgment
               interest and attorneys’ fees, expert fees, costs, and disburse-
               ments. (See id. at 13-14.)

               II. HISTORY OF DISCIPLINARY PROCEEDINGS AGAINST
                   CLASS REPRESENTATIVES’ COUNSEL

               Kernan’s disciplinary history is also relevant to the procedural
               and substantive issues before this court. In 2009, Kernan was
               charged with a fifteen-count federal indictment in the Northern
               District of New York. At the time, he was the owner and president
               of Oriska’s subsidiary, Oriska Insurance Company, located in
               Oriskany, New York. See United States v. Kernan, No. 5:08-CR-61
               (FJS), 2009 WL 667432, at *1 (N.D.N.Y. Mar. 11, 2009). The
               charges concerned Kernan’s participation, along with Robert J.
               “Skip” Anderson, a three-time convicted felon, in a scheme to de-
               fraud several professional employer organizations (“PEOs”).
               More specifically, Kernan and Anderson were charged with
               falsely representing that Oriska Insurance Company was author-
               ized to (1) issue high deductible workers’ compensation




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               insurance policies in New York and (2) issue workers’ compen-
               sation policies outside of New York, when, in fact, it was not
               authorized to do either of those things. Id. at *6.
               On March 20, 2009, Kernan pleaded guilty to one count of know-
               ingly permitting a convicted felon to be involved in the business
               of insurance, a felony in violation of 18 U.S.C. § 1033(e)(1)(B).
               (See United States v. Kernan, N.D.N.Y. 08-cr-61 (“U.S. v.
               Kernan”), Mar. 20, 2009 Minute Entry); U.S. v. Kernan, Plea
               Agreement (Dkt. 82); U.S. v. Kernan, Change-of-Plea Hr’g Tr.
               (Dkt. 84).) He was sentenced to five years of probation and the
               court imposed a $250,000 fine, a $100 special assessment, and
               400 hours of community service. (U.S. v. Kernan, Judgment (Dkt.
               103).)
               After his conviction, Kernan asked the New York State Depart-
               ment of Financial Services (“NYSDFS”) for permission to engage
               in the business of insurance in New York again. See Oriska Ins.
               Co. v. Avalon Gardens Rehab. & Health Care Ctr., LLC, No. 18-cv-
               1030 (DNH/DEP), 2018 WL 6074693, at *3 (N.D.N.Y. Nov. 21,
               2018). On May 26, 2011, the NYSDFS issued a preliminary de-
               nial. Id. It then held a hearing in late 2011 to consider “(1)
               whether Attorney Kernan ‘demonstrated untrustworthiness’
               within the meaning of section 1506(c)(1)(A) of the New York
               Insurance Law, such that he should be prohibited from acting ‘as
               a controlling person’ of Oriska; and (2) whether the preliminary
               denial of Attorney Kernan’s application for consent pursuant to
               18 U.S.C. § 1033(e)(2) should be made final on the grounds that
               he demonstrated untrustworthiness or incompetency.” Id. at *4. 4
               Based on that hearing, the NYSDFS Hearing Officer submitted a
               recommendation that the Superintendent of the NYSDFS deny
               Kernan’s request to engage in the business of insurance and “is-
               sue an order pursuant to Insurance Law § 1506(c)(1)(A) finding

               4 When quoting cases, and unless otherwise noted, all citations and quota-
               tion marks are omitted, and all alterations are adopted.




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               that [] Kernan, as a controlling person of Oriska Insurance Com-
               pany, has demonstrated his untrustworthiness” and “directing []
               Kernan to terminate his ownership capacity at Oriska Insurance
               Company, including but not limited to providing legal or engi-
               neering services, or insurance agency services, by himself or by
               any member of his family or relative, directly or indirectly, to
               Oriska.” Id. The Superintendent issued a final determination and
               order adopting the hearing officer’s recommendation. Id. (citing
               N.D.N.Y. 18-cv-1030, Dkt. No. 47-4 at 3-4). Despite these re-
               strictions, Kernan went on to represent Oriska in a subsequent
               insurance action in the Northern District of New York. Id. The
               court terminated his representation in that action on the grounds
               that he had violated both provisions of the NYSDFS’s order. Id. at
               *7-9.
               The Appellate Division of the New York Supreme Court, Fourth
               Department, suspended Kernan from the practice of law in New
               York for a period of five years following his felony conviction or
               until the termination of his federal term of probation, whichever
               was longer. In re Kernan, 66 A.D.3d 1497, 1497 (4th Dep’t 2009)
               (initial order of suspension); In re Kernan, 73 A.D.3d 219, 220
               (4th Dep’t 2010) (final order of suspension). In reaching its con-
               clusion, the Fourth Department considered the fact that Kernan’s
               “misconduct was willful and appears to have been committed for
               personal gain, and that respondent has failed to express remorse
               for his misconduct.” 73 A.D.3d at 220. The Fourth Department
               reinstated Kernan on June 12, 2015. See In re Kernan, 129 A.D.3d
               1556, 1556 (4th Dep’t 2015).
               Kernan was reinstated to practice law in the Eastern District of
               New York around the same time. (In re Kernan, 10-mc-351, Or-
               der Reinstating Kernan (Dkt. 3).) The Eastern District of New
               York then disbarred him again, after he was directed by ECF or-
               der on two separate occasions to provide the court with proof of
               his admission to practice law and failed to do so. (In re Kernan,




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               10-mc-351, Order (Dkt. 5); Nov. 7, 2018 ECF Order; Order (Dkt.
               6).) Almost two years later, in August 2020, Kernan submitted a
               request for reconsideration. (In re Kernan, 10-mc-351, Mot. for
               Reconsideration (Dkt. 7).) He was readmitted to the District on
               August 25, 2020. (In re Kernan, 10-mc-351, Aug. 25, 2020 ECF
               Order.)
               Kernan also applied for readmission to the Northern District of
               New York. The Northern District revoked his admission after ini-
               tially accidentally readmitting him, and he challenged the
               revocation in the Second Circuit. In re Kernan, 783 F. App’x 106
               (2d Cir. 2019). He was represented in that litigation by attorney
               Frank Policelli, who is counsel for Oriska in the 29 pending ac-
               tions before this court. See id. Kernan ultimately withdrew his
               appeal, and it does not appear that he has been reinstated in the
               Northern District of New York.

               III. REMAND OF THE REMOVED ACTIONS
                   A. Legal Standard
               A defendant may remove an action from state court to federal
               district court if the latter court has original jurisdiction, 28 U.S.C.
               § 1441(a), and if the applicable procedural requirements are sat-
               isfied, 28 U.S.C. § 1446. “The right of removal is entirely a
               creature of statutes and . . . [the] statutory procedures for re-
               moval are to be strictly construed.” Syngenta Crop Protection, Inc.
               v. Henson, 537 U.S. 28, 32 (2002). “In light of the congressional
               intent to restrict federal court jurisdiction, as well as the im-
               portance of preserving the independence of state governments,
               federal courts . . . resolv[e] any doubts against removability.”
               Lupo v. Human Affairs Int’l, Inc., 28 F.3d 269, 274 (2d Cir.1994)
               (citing Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108
               (1941)). On a motion to remand to state court, “the burden falls
               squarely upon the removing party to establish its right to a fed-
               eral forum by competent proof.” R.G. Barry Corp. v. Mushroom




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               Makers, Inc., 612 F.2d 651, 655 (2d Cir. 1979). To carry its bur-
               den, the removing party must “demonstrate[e] both the
               existence of subject-matter jurisdiction and compliance with the
               relevant procedural requirements.” St. Vincent’s Hosp. of Staten
               Island v. Taylor, No. 07-cv-967 (ILG) (JO), 2007 WL 2325073, at
               *2 (E.D.N.Y. Aug. 10, 2007). “If the removing party cannot
               demonstrate federal jurisdiction by competent proof, the removal
               was in error and the district court must remand the case to the
               court in which it was filed.” Hill v. Delta Int’l Mach. Corp., 386 F.
               Supp. 2d 427, 429 (S.D.N.Y. 2005).

                   B. Discussion
               The Healthcare Employer defendants seek to remand the eight-
               een Removed Cases. 5 6 They argue that remand is necessary
               because the Class Defendants violated the rule of unanimity, one
               of the procedural requirements for removal; because the Class
               Representatives attempted to remove the actions to an improper
               federal venue; and because the operative complaints do not pro-
               vide a basis for federal jurisdiction. (See, e.g., Oriska v. Avalon,
               21-cv-2040, Mem. in Support of Mot. to Remand (Dkt. 8-1) at 1-
               2.)7


               5Individual defendant Ira Lipsius also seeks remand. See Bay Park Ctr. For
               Nursing & Rehab., 20-cv-6291, Mot. to Remand (Dkt. 9) (E.D.N.Y. Jan. 19,
               2021).
               6
                 At the time of publication, these defendants have either moved to remand
               or requested leave to do so in each of the Removed Actions. Because of the
               redundancies among the cases, and in the interests of judicial efficiency
               and economy, this court decides the remand issue sua sponte in the cases
               where it has not yet been briefed. See Link v. Wabash R.R. Co., 370 U.S.
               626, 630-31 (1962) (District courts have the inherent authority “to man-
               age their own affairs so as to achieve the orderly and expeditious
               disposition of cases”.).
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                In certain actions, the remanding parties additionally argue that removal
               was untimely. (See, e.g., Oriska v. Hodge, 21-cv-1999, Mem. in Support of




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                        1. The Rule of Unanimity
               A removing party must obtain the consent of all “properly joined
               and served” defendants for a federal court to exercise jurisdiction
               over the action. Williams v. Connell, No. 12-cv-3593 (SLT), 2017
               WL 2829686, at *3 (E.D.N.Y. June 29, 2017), quoting 28 U.S.C.
               § 1446(b)(2)(A). This rule of unanimity is “strictly interpreted
               and enforced.” Burr ex rel. Burr v. Toyota Motor Credit Co., 478
               F. Supp. 2d 432, 437 (S.D.N.Y. 2006). If it is not satisfied, then
               “the petition is defective and the case must be remanded.”
               Snakepit Auto., Inc. v. Superperformance Int’l, LLC, 489 F. Supp.
               2d 196, 201 (E.D.N.Y. 2007). The rule of unanimity “advances
               the congressional purpose of giving deference to a plaintiff’s
               choice of a state forum and of resolving doubts against removal
               in favor of remand.” Bedminster Fin. Grp., Ltd. v. Umami Sustain-
               able Seafood, Inc., No. 12-cv-5557 (JPO), 2013 WL 1234958, at
               *5 (S.D.N.Y. Mar. 26, 2013).
               There are three exceptions to the rule of unanimity. Id. at *6. “A
               party asserting proper removal may raise an exception to the
               unanimity rule when: (1) the non-joining defendants have not
               been served with service of process at the time the removal peti-
               tion is filed; (2) the non-joining defendants are merely nominal
               or formal parties; or (3) the removed claim is a separate and in-
               dependent claim as defined by 28 U.S.C. § 1441(c).” Snakepit
               Automotive, 489 F. Supp. 2d at 201-02.
               In the Nassau County Action, where Oriska is a party via inter-
               vention, Oriska and the Class Representatives contend that the
               service exception to the rule of unanimity applies and is satisfied
               here. (See Bay Park Ctr. for Nursing & Rehab., 20-cv-6291, Class
               Representatives’ Opp. to Remand (“Class Opp.”) (Dkt. 40) at 7;
               Oriska Opp. to Remand (“Oriska Opp.”) (Dkt. 38) at 11.) They


               Mot. to Remand (Dkt. 10-1) at 8-9.) Given the other independent grounds
               for remand, the court declines to address that question.




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               assert that the Class Representatives were not required to obtain
               the Healthcare Employers’ consent because the Healthcare Em-
               ployers were not served with the Amended Intervention
               Complaint prior to removal of the action. Id.
               Oriska and the Class Representatives are incorrect. Federal courts
               “consistently look to state law to determine whether a defendant
               was properly served when evaluating procedural challenges to a
               Defendant’s removal.” Williams, 2017 WL 2829686, at *4. New
               York law permits service via e-filing on parties who have already
               appeared in the action. See N.Y. C.P.L.R. §§ 3012(a), 2103(b)(7);
               N.Y. Comp. Codes R. & Regs. tit. 22, § 202.5-b(f)(2)(ii) (“An e-
               filing party causes service of an interlocutory document to be
               made upon another party participating in e-filing by filing the
               document electronically.”). The Healthcare Employers are the
               original plaintiffs in the Nassau County Action, who appeared in
               this action at its outset and have participated in e-filing through-
               out. (See Bay Park Ctr., 21-cv-6291, State Court Docket Sheet
               (“State Court Docket”) (Dkt. 30-1).) Under New York law, they
               were deemed served with the Amended Intervention Complaint
               when it was e-filed on December 28, 2020. (Id. at 3.) Similarly,
               the Employer Defendants are the original defendants in the re-
               maining seventeen Removed Actions, and they have participated
               in e-filing in state court throughout those actions. The rule of
               unanimity therefore required the Class Representatives to obtain
               their consent for removal in all eighteen Removed Actions, which
               they did not do.
               Failure to satisfy the rule of unanimity is a procedural defect that
               requires remand of the Removed Actions to state court. See St.
               Vincent’s Hosp., 2007 WL 2325073, at *2. While remand is war-
               ranted on that basis alone, the court additionally addresses the
               arguments regarding venue and jurisdiction because of their rel-
               evance to the issues of attorneys’ fees and potential attorney
               misconduct.




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                        2. Improper Venue
               The Class Representatives contend that the Eastern District of
               New York is not the proper venue for the Removed Actions. The
               actions were coordinated in Oneida County for pre-trial pur-
               poses, and Oriska was granted permission to try the cases in the
               counties in which they were originally filed. (See, e.g., Bay Park
               Ctr., 20-cv-6291, State Court Docket at 3 (entering an order to
               transfer venue on September 30, 2020).) At the time of removal,
               the cases remained in the pre-trial stage in Oneida County and
               had not been returned to their original counties for trial. Thus,
               the Class Representatives were required to file any notice of re-
               moval in the Northern District of New York, where Oneida
               County is situated. See 28 U.S.C. § 1446(a) (requiring a removing
               defendant to file the notice of removal “in the district court of the
               United States for the district and division within which such ac-
               tion is pending”). It is notable that Kernan, their counsel, has
               been disbarred from the Northern District and that he was read-
               mitted to the Eastern District only a few months prior to
               attempting to remove these actions to this District. These circum-
               stances suggest that his removal to an improper venue may have
               been a willful attempt to avoid the Northern District, where he
               cannot practice law. In any event, remand of the Removed Ac-
               tions is warranted because the Class Representatives attempted
               to remove them to an improper federal venue.

                        3. Federal Jurisdiction
               The parties seeking remand also argue that the federal district
               court does not have jurisdiction over the eighteen Removed Ac-
               tions because the operative complaints do not raise any federal
               causes of action. The parties seeking to remand the Nassau
               County Action are correct. Based on the parties’ submissions, the
               court lacks sufficient information to reach a conclusion as to its
               jurisdiction over the other seventeen Removed Actions.




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               “Only state-court actions that originally could have been filed in
               federal court may be removed to federal court.” Caterpillar. Inc.
               v. Williams, 482 U.S. 386, 392 (1987). For removal based on fed-
               eral question jurisdiction pursuant to 28 U.S.C. § 1331,
               “jurisdiction exists only when the plaintiff’s own cause of action
               is based on federal law as demonstrated on the face of a well-
               pleaded complaint.” Arrow Financial Servs. LLC v. Massil, No. 08-
               cv-437 (NGG), 2009 WL 348553, at *2 (E.D.N.Y. Feb. 11, 2009).
               Because of this principle, courts routinely reject removal attempts
               made by third-party and intervenor litigants. See, e.g., Arrow Fin.
               Servs., 2009 WL 348553, at *2 (“It is clear . . . that the jurisdiction
               of the district court over the claims of the plaintiffs is not en-
               hanced by third party complaints.”); Childs v. Valente, No. 1:07-
               cv-18, 2007 WL 805820, at *1 (D. Vt. Mar. 15, 2007) (explaining
               that the intervenor litigant’s argument for removal “runs counter
               to substantial case law holding removal may not be predicated
               on an intervening petition or complaint”).
               The complete preemption doctrine is a corollary to the well-
               pleaded complaint rule. Caterpillar Inc., 482 U.S. at 393. This
               doctrine provides that an action may not be removed on the basis
               of a federal defense, including a preemption defense, unless fed-
               eral law completely preempts the relevant area of state law. Id.
               This doctrine authorizes removal in a limited set of circum-
               stances, including when state law claims are completely
               preempted by Section 502 of ERISA. See Aetna Health Inc. v.
               Davila, 542 U.S. 200, 204 (2004). Oriska and the Class Repre-
               sentatives contend that removal is proper under the complete
               preemption doctrine based on the claims in the original state
               court complaint, which they argue is an artfully pleaded attempt
               to recover $53 million in fund benefits governed by ERISA. (See
               Class Opp. at 8-12.)
               This court does not have jurisdiction over the removed Nassau
               County Action. The operative Amended Complaint asserts only




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               one state law cause of action for breach of contract, which is not
               preempted by federal law, and the voluntariness principal bars
               removal by parties introduced through intervention. (See Nassau
               County Action, 21-cv-6291, Am. Compl. (Dkt. 9-4) ¶¶ 21-25.) To
               hold otherwise would deprive plaintiffs of their right to decide
               where to bring their lawsuit. See Great Northern Ry. Co. v. Alex-
               ander, 246 U.S. 276, 282 (1918). The apparent coordination
               between the intervenor and the defendants-in-intervention sug-
               gests a willful attempt to evade the plaintiffs’ choice of forum, in
               further violation of the principle that plaintiffs, by virtue of their
               well-pleaded complaints, determine the removability of their
               cases. See id.
               It is not clear from the parties’ submissions whether this court has
               jurisdiction over the claims raised in the remaining seventeen Re-
               moved Actions. Because the remand issue can be resolved on
               procedural grounds, the court declines to decide the jurisdic-
               tional question presented in those actions.

               IV. DISMISSAL OF THE FEDERAL ACTIONS

                   A. Legal Standard
               District courts have the inherent authority “to manage their own
               affairs so as to achieve the orderly and expeditious disposition of
               cases.” Link v. Wabash R.R. Co., 370 U.S. 626, 630-31 (1962); see
               also Lewis v. Rawson, 564 F.3d 569, 575 (2d Cir. 2009). In addi-
               tion, Federal Rule of Civil Procedure 41(b) provides that a federal
               court may dismiss an action “[i]f the plaintiff fails to prosecute or
               to comply with [the Federal Rules of Civil Procedure] or a court
               order.” Smalls v. Cty. of Suffolk, 718 F. App’x 16, 19 (2d Cir.
               2017), quoting Fed. R. Civ. P. 41(b); see also Wright & Miller, 9
               Fed. Prac. & Proc. Civ. § 2369 (4th ed.) (“The district judge is
               vested with wide discretion in determining when dismissal is ap-
               propriate to enforce matters of docket management.”). A court
               may order dismissal sua sponte or on defendant’s motion. See




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               Link, 370 U.S. at 630-31. While dismissal is an appropriate rem-
               edy to avoid “undue delays in the disposition of pending cases
               and to avoid congestion in the calendars of the District Courts,”
               id. at 629-30, it is a “harsh remedy to be utilized only in extreme
               situations.” Minnette v. Time Warner, 997 F.2d 1023, 1027 (2d
               Cir. 1993).

                   B. Discussion
               Kernan has filed eleven nearly-identical actions in this district
               against at least 8,773 defendants. The complaints provide gen-
               eral descriptions of the defendants as a class, but do not explain
               the significance of the specific defendants that are named. For
               example, the complaint in Percy v. D&D Metal Work Inc. makes
               the vague assertion that:
                    Defendants are named individually and as representatives
                   of a class of employers . . . to which the Plaintiff has demon-
                   strated [the Percy Plan]. The Defendants are industry leaders
                   identified as class representatives with the expectation that
                   those industry leaders will protect the interests of the class,
                   being employers to which the Plaintiff demonstrated the
                   [Percy Plan] in an effort by the Plaintiff to persuade the spe-
                   cifically identified Employer Defendants which number
                   8,773.
               (21-cv-2182, Compl. (Dkt. 1) ¶ 26.) The apparently baseless
               identification of defendants suggests that there is no genuine
               connection between the allegations in the complaints and the
               thousands of defendants identified in the case captions. Without
               a legitimate foundation for naming such an extensive list of de-
               fendants, Kernan’s conduct appears to rise to the level of
               harassment against them, and at least one named defendant has
               contacted the court with concerns about being scammed. Fur-
               ther, his conduct has imposed a substantial and unnecessary
               burden on the court’s administrative procedures, its staff, and its




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               filing system. This harassing and burdensome conduct alone sup-
               ports dismissal of the Federal Actions pursuant to this court’s
               inherent authority to “achieve the orderly and expeditious dispo-
               sition of cases.” Link, 370 U.S. at 630-631.
               This conduct also satisfies the requirements for dismissal under
               Federal Rule of Civil Procedure 41(b) for failure to comply with
               a court order. The conditions of Kernan’s conviction and sentenc-
               ing by the Northern District of New York prohibit him from
               engaging in the business of insurance in any state unless pre-ap-
               proved to do so by the relevant state authority. See Oriska Ins. Co.
               v. Avalon Gardens Rehabilitation & Health Care Ctr., LLC, No. 18-
               cv-1030 (DNH/DEP), 2018 WL 6074693, at *3 (N.D.N.Y. Nov.
               21, 2018). In 2013, the NYSDFS entered a final order barring
               him from engaging in the business of insurance and from holding
               an interest in Oriska, specifically him from “providing legal or
               engineering services, or insurance agency services . . . directly or
               indirectly, to Oriska,” among other conduct. Id. at *4. He then
               attempted to represent Oriska in insurance litigation in the
               Northern District of New York and was disqualified from that lit-
               igation for violating the terms of the NYSDFS order. Id. at *9.
               Now, Kernan is again attempting to represent parties involved in
               litigation related to the business of insurance for the benefit of
               Oriska in both the Removed and Federal Actions. This conduct
               violates the terms of Kernan’s felony conviction and the orders of
               both the Northern District of New York and the NYSDFS.
               Accordingly, pursuant to this court’s inherent authority and Fed-
               eral Rule of Civil Procedure 41(b), the Federal Actions are
               dismissed with prejudice.

               V. ATTORNEYS’ FEES AND COSTS
                   A. Legal Standard
               The Healthcare Employers and individual defendant Ira Lipsius
               seek attorneys’ fees and costs on the grounds that the removal




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               attempts were objectively unreasonable. “An order remanding
               [a] case may require payment of just costs and any actual ex-
               penses, including attorney fees, incurred as a result of the
               removal.” 28 U.S.C. § 1447(c). “The statute as a whole, particu-
               larly the reference that an order remanding the case ‘may require
               payment’ of costs and fees, affords a great deal of discretion and
               flexibility to the district courts in fashioning awards of costs and
               fees.” Morgan Guar. Trust Co. of New York v. Republic of Palau,
               971 F.2d 917, 924 (2d Cir. 1992). District courts may exercise
               this discretion to award attorneys’ fees where “the removing
               party lacked an objectively reasonable basis for seeking removal.”
               Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005).

                   B. Discussion
               The Class Defendants did not have an objectively reasonable ba-
               sis for removal of the Nassau County Action. In Calabro v. Aniqa
               Halal Live Poultry Corp., 650 F.3d 163(2d Cir. 2011), the Second
               Circuit affirmed an attorneys’ fee award following a removal at-
               tempt that was predicated on federal claims raised in a third-
               party complaint in violation of the well-pleaded complaint doc-
               trine. As the basis for its conclusion that the removal attempt was
               objectively unreasonable, the Second Circuit explained, “it is well
               established that a defendant may not evade [the well-pleaded
               complaint] rule by raising a federal question in its responsive
               pleadings and then attempting to remove on that basis.” Id. at
               166. Consistent with Calabro, the attempted removal of the Nas-
               sau County Action in violation of the well-pleaded complaint rule
               here supports the conclusion that removal was objectively unrea-
               sonable.
               The Class Defendants’ failure to comply with the rule of unanim-
               ity is evidence that their removal attempts of all eighteen
               Removed Actions were objectively unreasonable. See Sherman v.
               A.J. Pegno Constr. Corp., 528 F. Supp 2d 320, 331 (S.D.N.Y.




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               2007) (holding that it was objectively unreasonable for the re-
               moving party to knowingly disregard the rule of unanimity). The
               Healthcare Employers were original parties to all eighteen Re-
               moved Actions, and the Class Representatives knew or should
               have known the rules for service via e-filing on existing parties
               under New York law. Consistent with the holding in Sherman,
               their attempts to remove these actions without their co-defend-
               ants’ consent demonstrates that they lacked an objectively
               reasonable basis to do so.
               Further, the apparent coordination and potential misconduct of
               counsel indicate that removal of all eighteen Removed Actions to
               this court, rather than to the proper venue in the Northern Dis-
               trict of New York, was objectively unreasonable. As explained
               above, Kernan appears to have violated terms of his conviction
               by engaging in this insurance-related litigation. And his coordi-
               nation with Policelli, who was his former lawyer in disciplinary
               proceedings against him and the who is current lawyer for
               Oriska, suggests a willful attempt to evade the restriction on
               Kernan providing legal services to Oriska and to avoid litigation
               in a federal district where he was disbarred.
               For the reasons explained above, Kernan’s attempts on behalf of
               the Class Representatives to remove these actions were objec-
               tively unreasonable. The remanding parties are entitled to
               reasonable attorneys’ fees and costs. If the parties cannot agree
               on the amount to be reimbursed, the Healthcare Employers and
               Mr. Lipsius should submit a bill of costs and a fee application to
               this court.

               VI. CONCLUSION
               For the foregoing reasons, the Removed Actions are REMANDED
               to New York Supreme Court, Oneida County; the Federal Actions
               are DISMISSED with prejudice; requests made by counsel in the
               Removed Actions for attorneys’ fees and costs are GRANTED;




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                 and Attorney Kernan, counsel for the Class Representatives, is
                 ORDERED to show cause within two weeks of the date of this
                 Order, in writing, as to why he should not be referred to the Dis-
                 ciplinary Committee for this District in connection with his
                 conduct in these matters.
                 The Clerk of Court is respectfully directed to close the cases. 8


        SO ORDERED.


        Dated:       Brooklyn, New York
                     May 27, 2021

                                                                    _/s/ Nicholas G. Garaufis_
                                                                    NICHOLAS G. GARAUFIS
                                                                    United States District Judge




                 8
                   While the case will otherwise be closed, this court “retains jurisdiction to
                 decide a motion for fees and costs under 28 U.S.C. § 1447(c) after it has
                 remanded a case to state court.” Calabro v. Aniqa Halal Live Poultry Corp.,
                 09-cv-4859 (JG), 2009 WL 4893200 at *3 n.4 (E.D.N.Y. Dec. 15, 2009),
                 citing Bryant v. Britt, 420 F.3d 161, 162 (2d Cir. 2005). It will also retain
                 jurisdiction over Kernan’s submission concerning potential misconduct.




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